









Dismissed and Opinion filed August 15, 2002









Dismissed and Opinion filed August 15, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-01-01271-CR

____________

&nbsp;

BENNIE LEE JOHNSON, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 228th District&nbsp; Court

Harris County, Texas

Trial
Court Cause No. 876,670

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered
and Opinion filed August 15, 2002.

Panel consists of
Justices Edelman, Seymore and Guzman

Do not publish ‑
Tex. R. App. P. 47.3(b).





